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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


  Rian Helgason and Caroline Crawford,
  individually and on behalf of all others
  similarly situated under 29 U.S.C. § 216(b)

                  Plaintiffs,

  v.
                                                                COLLECTIVE ACTION
  Perry’s Restaurants LTD; Perry’s LLC;                            COMPLAINT
  PBS Holdings, Inc.; and Leasing
  Enterprises, LTD, collectively d/b/a
  Perry’s Steakhouse and Grille; and
  Christopher V. Perry, individually.

                  Defendants.



         Rian Helgason and Caroline Crawford, individually and on behalf of all others similarly

situated under 29 U.S.C. § 216(b), file this complaint against Perry’s Restaurants LTD; Perry’s

LLC; PBS Holdings, Inc.; Leasing Enterprises, LTD; and Christopher V. Perry (collectively,

“Defendants”) for violations of the Fair Labor Standards Act, 29 U.S.C. § 201, et seq., as amended

(“FLSA”).

                                    I.      NATURE OF SUIT

         1.     This is a collective action brought by Plaintiffs on behalf of themselves and all

others similarly situated under 29 U.S.C. § 216(b) who worked for Defendants as servers and who

were paid a direct cash wage of less than $7.25 per hour.

         2.     In 1938, Congress passed the FLSA in an attempt to eliminate low wages, long

hours, and provide American workers with a wage that would support a minimum standard of




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living.1 The purpose of the FLSA is to provide “specific minimum protections to individual

workers and to ensure that each employee covered by the Act ... receive[s] ‘[a] fair day’s pay for

a fair day’s work’ and [is] protected from ‘the evil of “overwork” as well as “underpay.”

Barrentine v. Arkansas-Best Freight Sys. Inc., 450 U.S. 728, 739 (1981).

        3.      Section 206 of the FLSA requires employers to compensate employees at a rate of

not less than the minimum wage, which is currently $7.25 per hour. See 29 U.S.C. § 206(a).

However, for tipped employees, employers may take a “tip credit” against payment of the full

minimum wage in an amount up to $5.12 per hour, using a portion of an employee’s tips to satisfy

the employer’s minimum wage obligations to the employee. See 29 U.S.C. § 203(m). The use of

the tip credit results in a huge savings to employers who, by utilizing the tip credit, are relieved of

their obligation to pay the full minimum wage and can pay employees as little as $2.13 per hour

plus tips.

        4.      Though, in utilizing the tip credit defense, the FLSA specifically sets forth two

conditions that an employer2 must satisfy: 1) the employer must inform the employee that it will

take a tip credit; and 2) the employer must allow its tipped employees to retain all the tips they

receive, except those tips included in a lawfully administered tip pool. Id. “What the Congress has

said, in effect, to restaurant employers is that, if you precisely follow the language of 3(m) . . . you

may obtain a . . . credit from the receipt of tips toward your obligation to pay the minimum wage.

The corollary seems obvious and unavoidable: if the employer does not follow the command of



        1
           See Martinez v. Behring’s Bearings Service, Inc., 501 F.2d 104, 107 (5th Cir. 1974) (“[t]here can
be no doubt that the purpose of the FLSA was and is to protect interstate employees by denying their
employers the tool of toying with workers’ wages when battling in the competitive market.”)
         2
           See Pedigo v. Austin Rumba, Inc., 722 F. Supp. 2d 714, 724 (W.D. Tex. 2010) (quoting Bernal,
579 F.Supp.2d at 808) ("[d]efendants, as the employers, bear the burden of proving that they are entitled to
taking tip credits."); Whitehead v. Hidden Tavern Inc., 765 F. Supp. 2d 878, 881-82 (W.D. Tex. 2011) (The
burden of proof is not upon plaintiffs under the circumstances of establishing a tip credit.)

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the statute, he gets no credit.” Dorsey v. TGT Consulting, LLC, 888 F. Supp. 2d 670, 681 (D. Md.

2012) (quoting, Richard v. Marriott Corp., 549 F.2d 303, 305 (4th Cir. 1977). “Congress, in

crafting the tip credit provision of section 3(m) of the FLSA did not create a middle ground

allowing an employer both to take the tip credit and share employees' tips.” Chung v. New Silver

Palace Restaurant, Inc., 246 F. Supp. 2d 220, 230 (S.D.N.Y. 2002)).

        5.      Here, Defendants have a policy and practice of paying all their employee servers,

including Plaintiffs, subminimum hourly wages under the tip credit provisions of the FLSA.

However, Defendants failed to follow federal law and violated Section 203(m) – an affirmative

defense – in that Defendants unlawfully (1) failed to inform Plaintiff and Class Members of the tip

credit pursuant to 29 U.S.C. § 203(m); (2) did not allow Plaintiffs and Collective Members to

retain all of their tips3; (3) required Plaintiffs and Collective Members to contribute a portion of

their tips to an illegal tip pool; (4) required Plaintiffs and Collective Members to incur business

expenses; (5) required Plaintiffs and Collective Members to perform non-tipped work unrelated

to Plaintiffs and Collective Members’ tipped occupation (i.e., “dual jobs”); and (6) required

Plaintiffs and Collective Members to perform non-tipped work that, although related to Plaintiffs

and Collective Members’ tipped occupation, exceeded twenty percent (20%) of their time worked

during each workweek.

        6.      Defendants’ illegal practices in violation of the FLSA have resulted in a forfeiture

of the “tip credit.” Consequently, Defendants are liable to Plaintiffs and Collective Members for

the full minimum wage for every hour worked during the statutory time period plus all other

statutory damages provided for under the FLSA.

        7.      Because there are other putative plaintiffs who are similarly situated to Plaintiffs


        3
         Whenever the term “tip” is used in this Complaint, it shall carry the definition assigned to it under
29 C.F.R. § 531.52.

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with regard to work performed and Defendants’ compensation policies, Plaintiffs bring this action

as a collective action under § 216(b) of the FLSA to recover unpaid wages, misappropriated tips,

liquidated damages, attorneys’ fees, and costs on behalf of themselves and all others similarly

situated.

                                               II.     PARTIES

        8.        Plaintiff, Rian Helgason, is an individual and resident of Texas. Plaintiff was

employed by Defendants as a server within the three-year period preceding the filing of this

lawsuit. At all relevant times mentioned, Plaintiff was an “employee” of Defendants as defined by

the FLSA. Plaintiff has consented to be a party-plaintiff to this action as indicated by the notice of

consent that will be filed with the Court.

        9.        Plaintiff, Caroline Crawford, is an individual and resident of Texas. Plaintiff was

employed by Defendants as a server within the three-year period preceding the filing of this

lawsuit. At all relevant times mentioned, Plaintiff was an “employee” of Defendants as defined by

the FLSA. Plaintiff has consented to be a party-plaintiff to this action as indicated by the notice of

consent that will be filed with the Court.

        10.       The Putative Collective Members (“Collective Members”) are all individuals who

worked as servers for Defendants in Texas at any time during the three (3) year period preceding

the filing of this lawsuit and were paid a direct cash wage of less than minimum wage. Collective

Members will “opt in” pursuant to Section 216(b) of the FLSA by filing a consent to become a

party-plaintiff. See 29 U.S.C. § 216(b).4

        11.        At all times hereinafter mentioned, Plaintiffs and Collective Members were

individual employees who were engaged in commerce or in the production of goods for commerce



        4
            “Collective Members” include all individuals who file a consent to join this lawsuit.

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as required by 29 U.S.C. §§ 206, 207.

       12.    Defendant, Perry’s Restaurant, LTD, is a limited partnership formed under the laws

of Texas and doing business as Perry’s Steakhouse and Grille. Defendant operates a restaurant

chain commonly known as Perry’s Steakhouse and Grille with locations in Texas, Alabama,

Colorado, Florida, Illinois, North Carolina, and Tennessee. Defendant can be served with process

by serving its registered agent, Christopher V. Perry, at 9821 KATY FREEWAY, SUITE 500,

HOUSTON, TEXAS 77024.

       13.    Defendant, Perry’s LLC, is a limited liability company formed under the laws of

Texas and doing business as Perry’s Steakhouse and Grille. Defendant operates a restaurant chain

commonly known as Perry’s Steakhouse and Grille with locations in Texas, Alabama, Colorado,

Florida, Illinois, North Carolina, and Tennessee. Defendant can be served with process by serving

its registered agent, Christopher V. Perry, at 9821 KATY FREEWAY, SUITE 500, HOUSTON,

TEXAS 77024.

       14.    Defendant PBS Holdings, Inc. is a corporation formed under the laws of Texas and

doing business as Perry’s Steakhouse and Grille. Defendant operates a restaurant chain commonly

known as Perry’s Steakhouse and Grille with locations in Texas, Alabama, Colorado, Florida,

Illinois, North Carolina, and Tennessee. Defendant can be served with process by serving its

registered agent, Christopher V. Perry, at 9821 KATY FREEWAY, SUITE 500, HOUSTON,

TEXAS 77024.

       15.    Defendant Leasing Enterprises, LTD is a limited partnership formed under the laws

of Texas and doing business as Perry’s Steakhouse and Grille. Defendant operates a restaurant

chain commonly known as Perry’s Steakhouse and Grille with locations in Texas, Alabama,

Colorado, Florida, Illinois, North Carolina, and Tennessee. Defendant can be served with process



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by serving its registered agent, Christopher V. Perry, at 9821 KATY FREEWAY, SUITE 500,

HOUSTON, TEXAS 77024.

       16.     Defendant Christopher V. Perry, an individual, is individually liable as an

“employer” as defined in § 3(d) of the FLSA, 29 U.S.C. § 203(d). Upon information and belief,

Christopher V. Perry is the president of PBS Holdings, Inc. and Leasing Enterprises, LTD and is

the sole manager of Perry’s Restaurant LTD and Perry’s LLC. Christopher V. Perry acts directly

or indirectly in the interest of Perry’s Steakhouse and Grille in relation to its employees (including

Plaintiffs) by making operational and strategic decisions affecting employees, including decisions

affecting employee compensation and permitting employees to work at Perry’s Steakhouse and

Grille. Christopher V. Perry can be served at his residence located at 9821 KATY FREEWAY,

SUITE 500, HOUSTON, TEXAS 77024, or wherever he may be found.

                                III.    JURISDICTION AND VENUE

       17.     This Court has subject-matter jurisdiction over this matter, which arises primarily

under federal law. Specifically, this Complaint asserts claims arising under the Fair Labor

Standards Act of 1938, as amended, 29 U.S.C. § 201, et seq. Therefore, this Court has subject-

matter jurisdiction pursuant to 28 U.S.C. § 1331.

       18.     This Court has personal jurisdiction over Defendants because Defendants are each

doing business in Texas. Moreover, Defendants are each employing Texas residents, including

Plaintiffs and Collective Members, to work at Defendants’ restaurants located in Texas.

       19.     Venue is proper in the Northern District of Texas under 28 U.S.C. § 1391 because

each Defendant is a resident of the State of Texas and at least one of the Defendant entities is

deemed to reside in the Northern District of Texas, Dallas Division. Moreover, Venue is proper in

Northern District of Texas because a substantial part of the events or omissions giving rise to the



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claims asserted occurred in this district. Specifically, Defendants employed Plaintiffs and

Collective Members to work at Defendants’ restaurant known as Perry’s Steakhouse and Grille

(“Perry’s”). Plaintiffs and Collective Members worked at various Perry’s locations within the State

of Texas, including within the Northern District of Texas, Dallas Division.

                             IV.     COVERAGE UNDER THE FLSA

       20.     At all relevant times, Defendants have each, individually and jointly, been an

“employer” of Plaintiffs and Collective Members within the meaning of Section 3(d) of the FLSA,

29 U.S.C. § 203(d).

       21.     At all relevant times, Defendants have each, individually and jointly, acted, directly

or indirectly, in the interest of an employer with respect to Plaintiffs and Collective Members.

       22.     Specifically, Defendant Christopher V. Perry, through his ownership interests in

Perry’s Steakhouse and Grille, control the day-to-day decisions of the restaurants by making

strategic, operational and policy decisions, and exerting operational control over its employees.

Moreover, Christopher V. Perry has the power to hire and fire employees, discipline employees,

create and enforce employee policies, and set employee compensation. Therefore, Christopher V.

Perry is individually liable as an employer as defined in § 3(d) of the FLSA, 29 U.S.C. § 203(d).

       23.     At all relevant times, Perry’s Restaurants LTD, Perry’s LLC, PBS Holdings, Inc.,

and Leasing Enterprises, LTD have been an “enterprise” within the meaning of section 3(r) of the

FLSA, 29 U.S.C. § 203(r), in that Defendants have been, through unified operation or common

control, engaged in the performance of related activities for a common business purpose – namely,

operating a restaurant called Perry’s Steakhouse and Grille – where Plaintiffs and Collective

Members were employed to work.

       24.     At all relevant times, Perry’s Restaurants LTD, Perry’s LLC, PBS Holdings, Inc.,



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and Leasing Enterprises, LTD have been an enterprise engaged in commerce or in the production

of goods for commerce within the meaning of Section 3(s)(1) of the FLSA, 29 U.S.C. § 203(s)(1),

in that said enterprise has had (a) employees engaged in commerce or in the production of goods

for commerce, or (b) employees handling, selling, or otherwise working on goods or materials that

have been moved in or produced for commerce by any person and that said enterprise has had and

has an annual gross volume of sales made or business done of not less than $500,000 (exclusive

of excise taxes at the retail level which are separately stated).

       25.     At all relevant times, Plaintiffs and Collective Members were individual

“employees” (as defined in Section 3(e)(1) of the FLSA, 29 U.S.C. § 203(e)(1)) of Defendants

who were all engaged in commerce or in the production of goods for commerce as required by 29

U.S.C. §§ 206-207. See Reich v. Circle C. Investments, Inc., 998 F.2d 324, 326 - 329 (5th Cir.

1993). Specifically, as part of their employment, Plaintiffs and Collective Members handled food

and other food service items that were purchased across state lines or traveled in interstate

commerce, or both. In addition, Plaintiffs and Collective Members regularly served customers

dining at Defendants’ restaurants who were traveling from out-of-state or across interstate lines.

Finally, Plaintiffs and Collective Members regularly and frequently processed multiple interstate

credit card transactions during every shift they worked.

                                           V.       FACTS

       26.     From approximately November of 2017 until March 1, 2020, Defendants employed

Plaintiff Rian Helgason to work as a server, during which time she worked at three (3) of

Defendants’ restaurant locations. During her employment, Defendants paid Plaintiff Helgason a

subminimum hourly wage of $2.13 per hour plus tips.

       27.     Since approximately September of 2017, Plaintiff Caroline Crawford has been



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employed by Defendants to work as a server, during which time she worked at two (2) of

Defendants’ restaurant locations. During her employment, Defendants paid Plaintiff Crawford a

subminimum hourly wage of $2.13 per hour plus tips.

          28.   Defendants employed Plaintiffs and other individuals as servers (“Collective

Members”) within the three (3) year period preceding the filing of this lawsuit and paid them all a

subminimum wage per hour prior to accounting for the receipt of earned tips.

          29.   At all times relevant, Plaintiffs and Collective Members were Defendants’

“employees” as that term is defined by the FLSA and relevant case law. See e.g., Reich, 998 F.2d

at 327.

          30.   As part of the payment scheme that Defendants used to compensate Plaintiffs and

Collective Members, Defendants paid Plaintiffs and Collective Members a subminimum hourly

wage while purportedly utilizing the tip credit as a defense to Defendants’ obligation to pay the

full minimum wage. The use of the tip credit results in huge savings to Defendants because

Defendants compensate Plaintiffs and Collective Members at the significantly reduced hourly

wage of $2.13 – requiring customers to bear the large burden of compensating Plaintiffs and

Collective Members in the form of tips coming directly from customers in the form of tips.

          31.   Defendants imposed a tip credit upon all their tipped employees, including Plaintiff

and the Collective Members.

          32.   For instance, during the three-year period preceding the filing of this lawsuit,

Defendants employed Plaintiffs as servers and paid them $2.13 per hour prior to accounting for

the receipt of earned tips. Defendants then purported to rely on the tips Plaintiffs earned by

applying at least a $5.12 per hour to bring Plaintiffs’ effective rate of pay, with tips included, up

to the required minimum wage of $7.25.



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       33.     In utilizing the tip credit defense, the FLSA specifically sets forth each of the

conditions that the employer must satisfy: 1) the employer must inform the employee that it will

take a tip credit; and 2) the employer must allow its tipped employees to retain all of their tips ,

except those tips included in a lawfully administered tip pool. See 29 U.S.C. § 203(m).

       34.     Plaintiffs and Class Members have been victimized by Defendants’ payment

scheme that violates the FLSA. Specifically, Defendants violated Section 203(m), an affirmative

defense, by (1) failed to inform Plaintiff and Class Members of the tip credit pursuant to 29 U.S.C.

§ 203(m); (2) did not allow Plaintiffs and Collective Members to retain all of their tips; (3) required

Plaintiffs and Collective Members to contribute a portion of their tips to an illegal tip pool; (4)

required Plaintiffs and Collective Members to incur business expenses; (5) required Plaintiffs and

Collective Members to perform non-tipped work unrelated to Plaintiffs and Collective Members’

tipped occupation (i.e., “dual jobs”); and (6) required Plaintiffs and Collective Members to perform

non-tipped work that, although related to Plaintiffs and Collective Members’ tipped occupation,

exceeded twenty percent (20%) of their time worked during each workweek. Therefore, based

upon any one or more of the foregoing violations, Defendants violated the minimum wage

provisions of the FLSA as cited in 29 U.S.C. § 206 and are prevented from utilizing the tip credit

as an affirmative defense to the payment of the full minimum wage under Section 206.

       35.     Defendants did not inform Plaintiffs and Collective Members of the provisions of

the tip credit, violating condition one of 29 U.S.C. § 203(m). See 29 C.F.R. § 531.59(b). If the

employer fails to adhere to the very specific requirements of the FLSA, the employer loses its right

to avail itself of the tip credit. See Martin v. Tango's Rest., Inc., 969 F.2d 1319, 1323 (1st Cir.

1992) (stating that if the penalty for failing to adhere to the FLSA’s notice provisions of the tip

credit seems harsh, “it is also true that notice is not difficult for the employer to provide.”)



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       36.     Furthermore, Plaintiffs and Collective Members were required to contribute 4.5%

of their sales from every shift to a tip pool which included bussers and food runners, even if there

was no one staffed for the position.

       37.     In addition, Defendants retain portions of Plaintiffs and Collective Members’ tips,

including tips that Plaintiffs and Collective Members contribute to the tip pool. For instance,

though a portion of the tips that Plaintiffs and Collective Members contribute to the tip pool are

purportedly earmarked for the busser, the busser does not receive these tips. Instead, Defendants

pay the bussers are a flat hourly wage, regardless of the amount of tips Plaintiffs and Collective

Members contributed to the tip pool.

       38.     Defendants’ pattern and practice of retaining tips from the tip pool for vacant

positions results in Defendants’ forfeiture of the tip credit. See Wajcman v. Inv. Corp. of Palm

Beach, 620 F. Supp. 2d 1353, 1356 n.3 (S.D. Fla. 2009) (citing 29 U.S.C. § 203(m)) (“[i]f tipped

employees are required to participate in a tip pool with other employees who do not customarily

receive tips, then the tip pool is invalid and the employer is not permitted to take a ‘tip credit.’”);

See also 29 U.S.C. § 203(m)(2)(B) (“[a]n employer may not keep tips received by its employees

for any purposes, including allowing managers or supervisors to keep any portion of employees’

tips, regardless of whether or not the employer takes a tip credit.”)

       39.     Because Defendants required Plaintiffs and Collective Members’ to share tips with

vacant positions, Defendants failed to adhere to condition two of 29 U.S.C. § 203(m) and have

thus violated the minimum wage as cited in 29 U.S.C. § 206. Therefore, Defendants are disavowed

from using the tip-credit as a defense to the payment of the full minimum wage.

       40.     In addition, while utilizing the tip credit, Defendants required Plaintiffs and

Collective Members to pay for various business expenses including check presenters, pens, wine



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keys, uniforms, such as vests, shirts, and aprons, pepper mills, and crumbers.

        41.     Defendants’ pattern and practice of requiring Plaintiffs and Collective Members to

incur these business expenses violates federal law as such is a retention of tips and further violates

condition two of 29 U.S.C. § 203(m). See e.g., Mayhue's Super Liquor Stores, Inc. v. Hodgson,

464 F.2d 1196, 1199 (5th Cir. 1972) (holding that a general deduction for cash register shortages

tends to “shift part of the employer's business expense to the employees” and is impermissible if

the deduction drops cuts into the statutory minimum wage); Reich v. Priba Corp., 890 F. Supp.

586, 596 (N.D. Tex. 1995) (“[t]he FLSA does not permit an employer to transfer to its employees

the responsibility for the expense of carrying on an enterprise.”); 29 C.F.R. 531.3(d)(1), (2); 29

C.F.R. 531.32(c); Myers v. Copper Cellar Corp., 192 F.3d 546, 554-55 (6th Cir. 1999); see also

Herman v. Collis Foods, Inc., 176 F.3d 912, 918 (1999) (recognizing “the FLSA’s policy of

preventing employers from exploiting § 203(m) deductions for profit.”).

        42.     Defendants further violated the FLSA by enforcing a policy or practice of paying

Plaintiffs and Collective Members a subminimum hourly wage even when they required Plaintiffs

and Collective Members to perform non-tipped work that was unrelated to their tipped occupation

(i.e., “dual jobs”).

        43.     For example, Defendants regularly and frequently required Plaintiff and Collective

Members to perform a number of non-tipped duties unrelated to their tipped occupations as

servers, including but not limited to: polishing glasses, silverware, and plates; cleaning windows;

setting up and taking down patio furniture; assisting in kitchen preparation and food preparation;

setting up cocktail lounge; and setting up the bread stations.

        44.     Defendants paid Plaintiffs and Collective Members subminimum hourly wages for

all hours Plaintiffs and Collective Members worked for Defendants, including for their time spent



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performing duties that are unrelated to Plaintiff and the Collective Members’ tipped occupations.

       45.     In addition to performing duties unrelated to their jobs as servers, Defendants also

regularly and frequently required Plaintiffs and the Collective Members to perform a number of

non-tipped duties related to their tipped occupation, including but not limited to: wiping down

tables, stocking and setting tables, running food, rolling silverware and other “side-work.” These

nontipped duties related to Plaintiff and Collective Members’ tipped occupation exceeded twenty

percent (20%) of their time worked during each workweek.

       46.     Finally, Defendants’ method of paying Plaintiffs and Collective Members in

violation of the FLSA was not based on good-faith and a reasonable belief that its conduct

complied with the FLSA. Therefore, an award of liquidated damages is mandatory.

       47.     Defendants’ method of paying Plaintiffs and Collective Members in violation of

the FLSA was willful and was not based on good-faith or reasonable belief that its conduct

complied with the FLSA. Therefore, a three-year statute of limitations applies due to the willful

nature of the violations. 29 U.S.C. § 255(a).

       48.     During the three-year period prior to this suit, Defendants have employed

individuals who performed similar job duties under a similar payment scheme as was used to

compensate Plaintiffs. Because there are other putative plaintiffs who are similarly situated to

Plaintiffs with regard to work performed and Defendants’ compensation policies, Plaintiffs bring

this action as a collective action under § 216(b) of the FLSA to recover unpaid wages, liquidated

damages, attorneys’ fees, and costs on behalf of himself and all others similarly situated

                          VI.     COLLECTIVE ACTION ALLEGATIONS

       49.     The foregoing paragraphs are fully incorporated herein.

       50.     Plaintiff brings this FLSA claim as an “opt-in” collective action pursuant to 29



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U.S.C. § 216(b) (the “Collective Action”). In addition to the claims of the individually named

Plaintiffs, Plaintiffs brings this action as a representative of all similarly situated former and current

employees of Defendants. The proposed collective of similarly situated employees (“Class

Members”) sought to be certified pursuant to 29 U.S.C. § 216(b), is defined as:

                All individuals who worked as servers for Defendants in Texas at any
                time during the three (3) year period preceding the filing of this lawsuit
                and were paid a direct cash wage of less than minimum wage.

        51.     FLSA claims may be pursued by those who opt-in to this case, pursuant to 29

U.S.C. § 216(b).

        52.     Other employees have been victimized by Defendants’ common pattern, practice,

and scheme of paying employees in violation of the FLSA. Plaintiffs are aware of other employees

at who were paid in the same unlawful manner as Plaintiffs. Plaintiffs are aware that the illegal

practices or policies of Defendants have been uniformly imposed on other servers who worked for

Defendants. Specifically, Plaintiffs are aware of other servers who were required to pay for

business expenses and who contributed tips to the same tip pool in which Defendants illegal

retained a portion of the tips.

        53.     Plaintiffs and Collective Members have the same pay structure, have the same job

duties, were required to participate in the tip pool from which a portion of the tips were distributed

to ineligible participants, were required to pay for non-203(m) items, and were required to perform

non-tipped duties while being paid at the subminimum “tipped wage.” Plaintiffs and Collective

Members are all victims of Defendants’ unlawful compensation scheme.

        54.     Plaintiffs and the Collective Members are all non-exempt for purposes of minimum

wage payments under the FLSA.

        55.     Defendants’ failure to pay minimum wage pursuant to the FLSA results from


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generally applicable policies or practices and does not depend on the personal circumstances of

the Collective Members. Plaintiffs’ experiences regarding pay is typical of the experiences of the

Collective Members.

          56.    Although the exact amount of damages may vary among Collective Members, the

damages for the Collective Members can be easily calculated by a simple formula. The Collective

Members’ claims arise from a common nucleus of facts. Specifically, Defendants’ systematic

course of illegal conduct in violation of the FLSA’s minimum wage requirements caused harm to

Plaintiffs and Collective Members.

          VII.   CAUSE OF ACTION NO. 1: MINIMUM WAGE VIOLATIONS UNDER
                             THE FAIR LABOR STANDARDS ACT

          57.    The foregoing paragraphs are fully incorporated herein.

          58.    Defendants’ failure to pay Plaintiffs and Collective Members at the full minimum

wage rate is a violation of the FLSA’s minimum wage requirement. See 26 U.S.C. § 206.

          59.    During the relevant period, Defendants have violated and are violating the

provisions of Section 6 of the FLSA, 29 U.S.C. § 206, and 215(a)(2), by employing Plaintiffs and

Collective Members in an enterprise engaged in commerce or in the production of commerce

within the meaning of the FLSA, as aforesaid, and failing to pay such employees at the minimum

wage rate.

          60.    Defendants failed to pay Plaintiffs and Collective Members the full minimum wage

according to the provisions of the FLSA for each hour and workweek that Plaintiffs and Collective

Members worked for Defendants during the statutory time period in violation of 29 U.S.C. §

206(a).

          61.    In addition, to the extent Defendants intend to rely on the “tip credit” as an

affirmative defense to the payment of minimum wage, Defendants have violated the tip credit

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because Defendants: (1) failed to inform Plaintiffs and Collective Members of the tip credit

provisions; (2) failed to allow Plaintiff and Class Members to retain all of their tips; (3) required

Plaintiffs and Collective Members to contribute tips to an illegal tip pool; (4) required Plaintiffs

and Collective Members to incur business expenses; and (5) required Plaintiffs and Collective

Members to perform non-tipped work unrelated to Plaintiffs and Collective Members’ tipped

occupation; and (6) required Plaintiffs and Collective Members to perform non-tipped work that,

although related to Plaintiffs and Collective Members’ tipped occupation, exceeded twenty percent

(20%) of their time worked during each workweek.

       62.     Defendants’ illegal practices in violation of the FLSA have resulted in Defendants’

forfeiture of the tip credit, and therefore, Defendants’ are precluded from relying on tips to

supplement Plaintiffs and Collective Members subminimum hourly rate. Consequently,

Defendants are liable to Plaintiffs and the Collective Members for the full minimum wage for

every hour worked during the statutory time period plus all other statutory damages provided for

under the FLSA.

       63.     At all times relevant, Defendants compensated Plaintiffs and Collective Members

less than the federally mandated minimum wage of $7.25 per hour. None of the exemptions or

defenses provided by the FLSA regulating the duty of employers to pay employees for all hours

worked at the required minimum wage rate are applicable to Defendants, Plaintiffs, or Collective

Members.

       64.     Because there are other putative plaintiffs who are similarly situated to Plaintiffs

with regard to work performed and Defendants’ compensation policies, Plaintiffs bring this lawsuit

as a collective action under § 216(b) of the FLSA to recover unpaid wages, misappropriated tips,

liquidated damages, attorneys’ fees, and costs on behalf of themselves and Collective Members.



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             VIII. CAUSE OF ACTION NO. 2: UNLAWFUL KICKBACKS UNDER
                             THE FAIR LABOR STANDARDS ACT

       65.     Plaintiff incorporates by reference the previous paragraphs of the Complaint.

       66.     The business expenses that Defendants required Plaintiffs and Collective Members

to pay for and the mandatory tip-outs that Defendants required from Plaintiffs and Collective

Members constitute unlawful “kick-backs” to an employer, which is proscribed by the FLSA, 29

U.S.C. § 203(m).

       67.     In addition, section 203(m)(2) provides that “[a]n employer may not keep tips

received by its employees for any purposes, including allowing managers or supervisors to keep

any portion of employees’ tips, regardless of whether or not the employer takes a tip credit.”

       68.     The unlawful kickbacks received or required by Defendants were obtained

knowingly, willfully, intentionally, or in bad faith.

       69.     Plaintiffs and Collective Members are entitled to an award of back pay for all

unlawful kickbacks required by Defendants.

                                    IX.     DAMAGES SOUGHT

       70.     The foregoing paragraphs are fully incorporated herein.

       71.     Plaintiffs and Collective Members are entitled to recover compensation for every

hour worked at the federally mandated minimum wage rate of $7.25 per hour plus an equal amount

as liquidated damages.

       72.     Plaintiffs and Collective Members are entitled to reimbursement of all

misappropriated tips plus an equal amount as liquidated damages.

       73.     Plaintiffs and Collective Members are entitled to all their misappropriated funds,

including repayment of all expenses Defendants required Plaintiffs and Collective Members’ to

incur plus an equal amount as liquidated damages.

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          74.      Plaintiffs and Collective Members are entitled to an amount equal to all unpaid

wages found due (including all of their misappropriated tips and unlawful expenses incurred) as

liquidated damages because Defendants’ actions were not based upon good faith. See 29 U.S.C. §

216(b).

          75.      Plaintiffs and Collective Members are entitled to recover damages for the past three

(3) years because Defendants violations were willful.

          76.      Plaintiffs and Collective Members are entitled to recover their attorneys’ fees and

costs as required by the FLSA. See 29 U.S.C. § 216(b).

                                          X.         JURY DEMAND

          77.      Plaintiffs and Collective Members demand a trial by jury.

                                               XI.     PRAYER

          78.      Plaintiffs and Collective Members pray for judgment against Defendants, jointly

and severally, as follows:

                a. For an order pursuant to Section 216 of the FLSA finding Defendants liable for
                   unpaid wages (including all misappropriated tips and all unlawful expenses
                   incurred) due to Plaintiffs (and those who join in the suit), and for liquidated
                   damages equal in amount to the unpaid minimum wages (including all
                   misappropriated tips and paid business expenses) due to Plaintiffs (and those who
                   join in the suit);

                b. For an order awarding Plaintiffs (and those who join in the suit) an amount of pre-
                   judgment interest, as may be appropriate, and post-judgment interest computed at
                   the underpayment rate established by the Secretary of Treasury pursuant to 26
                   U.S.C. § 6621;

                c. For an order awarding Plaintiffs (and those who join in the suit) all attorneys’ fees
                   incurred;

                d. For an order awarding Plaintiffs (and those who join in the suit) all costs and
                   expenses incurred in pursuing this action; and


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      e. For an order granting any such other and further relief as this Court deems just and
         appropriate.

                                        Respectfully submitted,



                                        By: /s/ Drew N. Herrmann
                                               Drew N. Herrmann
                                               Texas Bar No. 24086523
                                               drew@herrmannlaw.com
                                               Pamela G. Herrmann
                                               Texas Bar No. 24104030
                                               pamela@herrmannlaw.com

                                               HERRMANN LAW, PLLC
                                               801 Cherry St., Suite 2365
                                               Fort Worth, TX 76102
                                               Phone: 817-479-9229
                                               Fax: 817-887-1878
                                               ATTORNEYS FOR PLAINTIFFS
                                               AND COLLECTIVE MEMBERS




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